
In re Cities Service Company; — Defendants); applying for writ of certiorari and/or review; to the Court of Appeal, Third Circuit, Number CA88-0664; Parish of Calcasieu 14th Judicial District Court Div. “D” Number 88-2774.
Denied.
CALOGERO, C.J., recused.
DENNIS, J., would grant the writ and assigns reasons.
SHORTESS, J., would grant the writ and joins in the reasons assigned by DENNIS, J.
DENNIS, Justice,
assigning reasons for granting certiorari.
This case presents important issues of law upon which there is considerable difference of opinion between state and federal courts and in which there is apparent conflict between decisions of this court and the state courts of appeal. Such issues, involving the rights of contribution among joint tortfeasors, a worker’s cause of action against the executive officers of his employer, and the duties owed by an employer to his independent contractor’s employees engaged in hazardous activity, have significant ramifications not only for silicosis litigation such as the ten suits involved here, but also for the large field of litigation involving asbestos-related diseases.
The critical need for consideration and resolution of these issues is indicated by the fact that even a respondent in this litigation has asked this court to take a 'position. One of the primary reasons this court exists is to resolve disagreements of this nature. I respectfully disagree with my colleagues who have voted to deny cer-tiorari simply because bringing the case here before trial places a greater burden on this court by requiring it to deal with issues that might be winnowed out at trial. Although I appreciate the need of this court to avoid unnecessary impositions on its time, in my opinion the benefits to the whole judicial system to be derived from this court’s resolution of the important questions presented are well worth the additional work involved.
